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                                  EXHIBIT B
             Summary of Expenses – First Interim Compensation Period


                           First         Second       Third       Fourth
                          Monthly        Monthly     Monthly     Monthly             Total
                         Application    Application Application Application

 Westlaw                  $2,280.54      $521.69             -            -         $2,802.23

 Postage                      -           $20.10          $4.14         $7.56        $31.80

 Reproduction                 -           $6.90            7.50        $11.20        $25.60

 Reliable (Production)        -          $213.06          $27.45       $144.12      $384.63

 Reliable (Transcript)        -          $456.00          $41.85       $673.90      $1,171.75

 Pacer                        -           $38.50             -            -          $38.50

 TOTAL:                   $2,280.54      $1,256.25        $80.94       $836.78      $4,454.51




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